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        IN THE UNITED STATES DISTRICT COURT
      FOR THE WESTERN DISTRICT OF OKLAHOMA
              ___________________________

     United States of America v. Jose Luis Amador-Bonilla
               ___________________________

                    Case No. CR-21-187-C
                ___________________________


                           EXHIBIT 4

       THE EUGENICAL ASPECTS OF DEPORTATION
            House of Representatives, 70th Congress
    Before the Committee on Immigration and Naturalization

                       Hearing No. 70.1.4
                       February 21, 1928




      See Motion to Dismiss, filed 09/21/21, Doc. 61, Ex. D
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